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                       EXHIBIT 4
   DECLARATION OF FITZANN R. REID




   RECORDS IDENTIFYING STEFAN QIN
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                                                                                                                                      CAU915
                       STANDARD FORM OF CONDOMINIUM APARTMENT LEASE
                                         THI; REAL ESTATE BOAAOOF NEW YORK, INC.


         PREAMBLE: This Lease contains the agreements between You and owner concerning the rights and
obligations of each party. You and OWnerhave othe r rights and obligations which a re set forth in government laws
and regulations.
        You should read this Lease carefully. If You have any questions, or If You do not understand any words
or statements, get clarification. Once You and Owner sign this Lease, You and Owner will be presumed to have
read It a nd understood it. You and Owner admit that atl agreements between You and Owner have been w ritten
inlo this Lease except for obligations arising under the Condominium Documents (as defined in Article 4}. Y ou
understand that any agreements made before or after 1his Lease was signed and not written Into it will not be
enforceable.
        THIS LEASE Is made as of ...:S:.,:Pc:.te:..:mccber::..:::...:1:.::2L,::.20:..:1:.::9_ _ _ __ _ _ _ _ _ _ _ _ _ _ _ __ _ be!Weoo
                                                                    monlh                                        Y""'
Owner, the Lessor, 50 West Development II LLC
whose address ts                                                                                                                    and
You, the Lessee, Stefan Qin
whose address Is
1.       APARTMENT AND USE
         Owne, agree$ lo lease to You Condominium Unll -                                         (tho 'Apartmoot') on tho
 - -"-- noor In the oondornlnlum &f.l!!r\ment buildlf:8 at ~                                   f •     -          , City and
State of New York, which Is known as the L             •                                 Condominium (the ' Condominium').
You shall use the Apartment for living purposes only. Th& Apartment may be occupied only by You and the following Permll1ed
O<:cupants: .;.n..;o;.;.n..;;
                          e_ __ _ _ _ _ _ _ _ _ __ _ _ _ _ _ _ _ __ _ _ _ _ __ _ _ __

         You acknowiedgethat: (I) lhls Lease may not commence unlll the Condominium has waivoo any first refusal rights that ttrnay have
With respect to this Lease; and (II) no other person other than You and the Permitted Occupants may resido In the Apartment smthoul the
prior mitten consent o! the OWner and the Condominium.
2.        LENGTH OF LEASE
          The tenn (that means the length) of this Lease will begin on October181, 2019                                        and will end
on September 30th, 2020                                  • II You do not do everyttlng Yo11 agree toelo In 1111s Lease, OWner may have tne
right to "nd this Lease before the ending date. If 0.-.m,rdoes nol doeve,ylhlng that Owner agrees todo In this Lease. You may have the
right to end lhe Lease before the eodin9 date. You acknowledge that the term of this Lease may be reduced as authorized by Article 6.
3.         REN'T
           Your monthly rent for the Apartment Is$ 23,000.00                                                . You musl pay OWner the rent,
In Gdvanoo, on tho first day of e&eh month <>lther lo Owner at the above addr0G1 or al anolho< place that Owner may Inform You ofby written
notice. You must pay the first month's rent to Ovmenmen Yoo sign Ills Lease If the Lease begins on the first day of the month. If the Lease
oogtns ancr the first day 011ne month, You must pay When You sign !his Lease: (1) the part or the rent from the beginning date or this Lease
until loo last day ot the month, and (ii) the full rent for the next full calendar monlh.
4.       CONDOMINIUM DOCUMENTS
         This Lease shall be subject and subordinate to: (I) the Deciaratlon ol Ccndomtnlum ; (ii} the Rules and Regulations of the
Condominium (which ere sometimes called House Rules): and (Ill) the By-Laws ot the Condominium. (Tl18 oectaratlon, the Rules and
Regulatlons·and the By-Laws of the Condominium and all ame<1dme<1ts there10. lnciudlng any amendmentssubsequenlto the date hereof.
are collectively called the ·conclomlnium Documents·.) In the event or any inconsistency between the provisions of this Lease and the
Conaomtnlum Documents, the provisions or the condominium Documents shall govern and be b4ndlng.
         You and the Penmitted Occupants of the Apartment shall faithfully ob&ef'VO and comply with tho CondOmlnlum Dcx:umcnts, other
than the provisions of the Condominium Documents required to be per1orme<l by 0Nn8f (which include the payment of common charges
for the Apartment lo the Condominium). You and the Permitted Occupants or the Apartment shall not undertake any action wrlch, It
performed by Owner, would constitute• violation of the Condominium Documents. You have revlewtld the Condominium Documents 0<
waived their examination.
5.        SECURI TY DEPOSIT
          You are required to give Owner the sum of$ 23,000.00                  when You sign this Lease as a secuity deposit, wl'tich
le 0011,s In law a trust. Owne< will dw sil this security In M & T                                                              bank
at                                                          , New Yor1(. This security accounl shall not bear Interest.
          If You carry out all of your agreements In this Lease and If You move out of the Apartment and ret1.m II to OWner In the same
condltlOn It was In When You nrst occupied I~ except for ordinary wear and tear or damagecause<l 1>y nre orothef casualty through no fault
of your own. ONner will return to You the full amount of your security deposit within 60 days after this Lease ends. H™-ever, If You do not
carry oul all your egreements In this Lea~. OWner may keep all or part of your security deposit v.tllc/1 has nol yet been paid lo You
nece<s3ary to pay Owner for any lo~• tneurred, Including mlMCd pi,yments.
          If O,.ner&ellstheApartment. Ownor'MII lum ovcryoursecwlty althe< to You or to the person buying the Apartment within Sdays
after the sale. Owner wlll then notify You, by registered or certified mail, or the name and addless of the person or company to whom the
deposit has been turned ove<. In suc/1 case, OWner Will have no rurtner responsitlillty to You ror the security deposit. The new owner v.111
become responsible to You for the sectH'ily deposil.
6.        IF YOU ARE UNABLE TO MOVE IN
          A situation could arise which might prevent Owner rrom letting You move Into lhe Apartment on the beginning date set in this
Lease. If this happens ror reasons beyond owner s reasonabte controt , lnctudlng the failure to obtain a waiver of any nrsl refu581 rtgnt that
the Condominium may have wllh respect to this Lease prior to lhe beginning date, Owne< wlll not be responsible for your damages or
expenaes and this Lease Will remain In effect. However, In such case, the Lease will start on the date when You can move In; the ending
dale of this Lea&eas spedOed In Arllcie2 ...,;n remain the eame. You will nolha\08 to pay rent until the movo-ln doto Ownorglvoo You by
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